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August 24, 2023

VIA ECF

The Honorable Eric N. Vitaliano
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

       Re:       Notice of Recent Developments Relevant to Mr. Aguilar’s Letter Motion to
                 Remove or Modify His Location Monitoring Condition (ECF No. 163) –
                 United States v. Javier Aguilar, No. 20 Cr. 390 (ENV) (E.D.N.Y.)

Dear Judge Vitaliano,

       We write on behalf of Defendant Javier Aguilar to inform the Court of recent developments
relevant to Mr. Aguilar’s letter motion to remove or modify location monitoring, which is fully
briefed and pending decision. ECF No. 163; see also ECF Nos. 167 & 168.

        As the Court is aware, the government recently obtained an indictment in the Southern
District of Texas charging Mr. Aguilar with five counts related to the same alleged
“Mexico Bribery Scheme” that this Court dismissed for lack of venue. See ECF No. 166-1
(S.D. Tex. indictment). On August 21, 2023, Mr. Aguilar made his initial appearance and was
arraigned in the Southern District of Texas before the Honorable Yvonne Y. Ho. See Ex. A.
During that hearing, the government requested that “the same conditions” of pretrial release
imposed “in the Eastern District of New York . . . be imposed in the Southern District of Texas as
well” on a “mirror image” basis, including with respect to GPS monitoring. Id. at 12:21–13:6,
15:2–4. Mr. Aguilar argued that, given the pending motion in this Court to remove location
monitoring, the Southern District of Texas pretrial release conditions should exclude location
monitoring. Id. at 13:17–14:1. Judge Ho agreed. In particular, she found that “given how broad
these travel restrictions are . . . it doesn’t sound like the Government has any serious concerns”
about Mr. Aguilar appearing for trial. Id. at 15:23–25. As a result, Judge Ho determined that
“if the Eastern District of New York decides to do away with monitoring, then that will terminate
the need for monitoring.” Id. at 17:1–3. See also Ex. B (pretrial release order).

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       Mr. Aguilar respectfully submits that these recent developments support granting his
motion to remove or modify his location monitoring condition for two reasons. First, the
government’s position that the bail package this Court imposed three years ago remains adequate
contradicts its argument in opposing Mr. Aguilar’s motion that his “risk of flight has only
increased” with time and in light of the Mexico-related charges first filed in December 2022.
Contra ECF No. 167 at 1. Second, Judge Ho found that given Mr. Aguilar’s expansive travel
permissions, the government lacks “any serious concerns” that Mr. Aguilar is a flight risk.
Ex. A, at 15:23–25.

         Accordingly, Mr. Aguilar respectfully requests that the Court grant his motion to remove
or modify the location monitoring provision of his pretrial release conditions. We thank the Court
for its attention to these issues.

Respectfully submitted,



Alex Spiro
Counsel for Defendant Javier Aguilar

Enclosures: Ex. A (S.D. Tex. hearing transcript); Ex. B (S.D. Tex. pretrial release order)

cc: Counsel of Record (via ECF)




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